                                                   Case 1:20-cv-00505-RP Document 1-1 Filed 05/11/20 Page 1 of 4
SCHEDULE A


    Defendant Marketplace Seller ID                   Product URL                                             Seller URL                                               Seller Name
    Doe 1     Wish         542617c6f6d29648dcbfece1   https://www.wish.com/product/569deefbd510f511de806d26   https://www.wish.com/merchant/542617c6f6d29648dcbfece1   greenpapaya
    Doe 2     Wish         54641bf490c77621a46f05eb   https://www.wish.com/product/5c00f1116efbca538d3b9253   https://www.wish.com/merchant/54641bf490c77621a46f05eb   Mega Save Wholesale & Retail
    Doe 2     Wish         54641bf490c77621a46f05eb   https://www.wish.com/product/5bcedc7bcbf80c2bca7a3731   https://www.wish.com/merchant/54641bf490c77621a46f05eb   Mega Save Wholesale & Retail
    Doe 2     Wish         54641bf490c77621a46f05eb   https://www.wish.com/product/5c94fbaab0f13d27358b83a6   https://www.wish.com/merchant/54641bf490c77621a46f05eb   Mega Save Wholesale & Retail
    Doe 2     Wish         54641bf490c77621a46f05eb   https://www.wish.com/product/5c6692b7876ee038cb7d4a60 https://www.wish.com/merchant/54641bf490c77621a46f05eb     Mega Save Wholesale & Retail
    Doe 2     Wish         54641bf490c77621a46f05eb   https://www.wish.com/product/5c00ef2ce25121612c1b70da https://www.wish.com/merchant/54641bf490c77621a46f05eb     Mega Save Wholesale & Retail
    Doe 2     Wish         54641bf490c77621a46f05eb   https://www.wish.com/product/5b6bf8746f20f77bd0341670   https://www.wish.com/merchant/54641bf490c77621a46f05eb   Mega Save Wholesale & Retail
    Doe 2     Wish         54641bf490c77621a46f05eb   https://www.wish.com/product/5bd415e971f9622f8e767534   https://www.wish.com/merchant/54641bf490c77621a46f05eb   Mega Save Wholesale & Retail
    Doe 2     Wish         54641bf490c77621a46f05eb   https://www.wish.com/product/5c94fb8e57c53e68898ae867 https://www.wish.com/merchant/54641bf490c77621a46f05eb     Mega Save Wholesale & Retail
    Doe 2     Wish         54641bf490c77621a46f05eb   https://www.wish.com/product/555aebd7440fe30e88ffcdca   https://www.wish.com/merchant/54641bf490c77621a46f05eb   Mega Save Wholesale & Retail
    Doe 2     Wish         54641bf490c77621a46f05eb   https://www.wish.com/product/5c93354d2e662663fbd067fa   https://www.wish.com/merchant/54641bf490c77621a46f05eb   Mega Save Wholesale & Retail
    Doe 3     Wish         5506d99ce536f30962adaee7 https://www.wish.com/product/58c60255922ac619aeaa9530 https://www.wish.com/merchant/5506d99ce536f30962adaee7       gotobuy_store
    Doe 4     Wish         5608f73ac079a82f5e6213cb   https://www.wish.com/product/577dee8f7d66f47497bc7d60   https://www.wish.com/merchant/5608f73ac079a82f5e6213cb   ainkin2411
    Doe 5     Wish         563aba51e546701256db31fe https://www.wish.com/product/56be8a5a1c9d0a268255a4e5 https://www.wish.com/merchant/563aba51e546701256db31fe       Qingdao Shenghuajie machinery Co., LTD
    Doe 5     Wish         563aba51e546701256db31fe https://www.wish.com/product/56be8a5a4609a811f1995f17     https://www.wish.com/merchant/563aba51e546701256db31fe   Qingdao Shenghuajie machinery Co., LTD
    Doe 5     Wish         563aba51e546701256db31fe https://www.wish.com/product/5c669304a356b55d79895d7a https://www.wish.com/merchant/563aba51e546701256db31fe       Qingdao Shenghuajie machinery Co., LTD
    Doe 5     Wish         563aba51e546701256db31fe https://www.wish.com/product/5bcedc7bfc5d552cb8e5ffa1     https://www.wish.com/merchant/563aba51e546701256db31fe   Qingdao Shenghuajie machinery Co., LTD
    Doe 5     Wish         563aba51e546701256db31fe https://www.wish.com/product/5bd415e944ac203f82d82e3e https://www.wish.com/merchant/563aba51e546701256db31fe       Qingdao Shenghuajie machinery Co., LTD
    Doe 5     Wish         563aba51e546701256db31fe https://www.wish.com/product/5c94fb3e1cb98f5dc15eae81     https://www.wish.com/merchant/563aba51e546701256db31fe   Qingdao Shenghuajie machinery Co., LTD
    Doe 5     Wish         563aba51e546701256db31fe https://www.wish.com/product/5ce63dada5b4af593003497f     https://www.wish.com/merchant/563aba51e546701256db31fe   Qingdao Shenghuajie machinery Co., LTD
    Doe 5     Wish         563aba51e546701256db31fe https://www.wish.com/product/5c94fcb1686784347ed07d5d https://www.wish.com/merchant/563aba51e546701256db31fe       Qingdao Shenghuajie machinery Co., LTD
    Doe 6     Wish         568e1f4ed18a6d26cd0291a7 https://www.wish.com/product/57590af804649260cade5d6b https://www.wish.com/merchant/568e1f4ed18a6d26cd0291a7       KFstore
    Doe 7     Wish         569b62bd2be98f60752d8cb3 https://www.wish.com/product/56b49678b607fe1f549d82ce     https://www.wish.com/merchant/569b62bd2be98f60752d8cb3   Raul
    Doe 8     Wish         56d461e61e15ff4916beedc1   https://www.wish.com/product/56e2f34bd84e7735d611c5b6 https://www.wish.com/merchant/56d461e61e15ff4916beedc1     good sun baby
    Doe 9     Wish         575827713a698c7a0867a353 https://www.wish.com/product/57fa15e1daf37820f24ea4b6     https://www.wish.com/merchant/575827713a698c7a0867a353   Sherry Lim
    Doe 10    Wish         57ae8b7dee12362428ffdbdb   https://www.wish.com/product/583bd40f3d6ce62990fba6cf   https://www.wish.com/merchant/57ae8b7dee12362428ffdbdb   tomifer
    Doe 11    Wish         57e92be89c88f514e6dff5ed   https://www.wish.com/product/57ff6f350805b32d3fa62c6e   https://www.wish.com/merchant/57e92be89c88f514e6dff5ed   Lingerie Heart
    Doe 12    Wish         584d1db981089121e28b9b72 https://www.wish.com/product/59705b18501aa5536b26f649 https://www.wish.com/merchant/584d1db981089121e28b9b72       mengmengdameng
    Doe 13    Wish         58528257d862776a1f52a262 https://www.wish.com/product/58c8b1061ffda4532359954c     https://www.wish.com/merchant/58528257d862776a1f52a262   xianxiu store
    Doe 14    Wish         5890975f3e68dc4d917340ed https://www.wish.com/product/5b3f0f2e6670e624e1341bfd     https://www.wish.com/merchant/5890975f3e68dc4d917340ed   Flower123
    Doe 15    Wish         589926401cf8580308875bcb   https://www.wish.com/product/590c0bba4f398b2777755a6f   https://www.wish.com/merchant/589926401cf8580308875bcb   Rreenly
    Doe 15    Wish         589926401cf8580308875bcb   https://www.wish.com/product/5c63e78ab87ea237e99b96a2 https://www.wish.com/merchant/589926401cf8580308875bcb     Rreenly
    Doe 15    Wish         589926401cf8580308875bcb   https://www.wish.com/product/5bd415e98a346e172e93c614 https://www.wish.com/merchant/589926401cf8580308875bcb     Rreenly
    Doe 15    Wish         589926401cf8580308875bcb   https://www.wish.com/product/5c9479b5cb28197db62c29d6 https://www.wish.com/merchant/589926401cf8580308875bcb     Rreenly
    Doe 16    Wish         58aa55a996f1bb6f12117559   https://www.wish.com/product/5c668b94b87ea23463700cb9 https://www.wish.com/merchant/58aa55a996f1bb6f12117559     for you now
    Doe 16    Wish         58aa55a996f1bb6f12117559   https://www.wish.com/product/5aab7d2a18d9213e060a3c2d https://www.wish.com/merchant/58aa55a996f1bb6f12117559     for you now
    Doe 16    Wish         58aa55a996f1bb6f12117559   https://www.wish.com/product/5bcedc72e93745703b1c7d5c https://www.wish.com/merchant/58aa55a996f1bb6f12117559     for you now
    Doe 16    Wish         58aa55a996f1bb6f12117559   https://www.wish.com/product/5bd415e92e020e25af09b7f3   https://www.wish.com/merchant/58aa55a996f1bb6f12117559   for you now
    Doe 16    Wish         58aa55a996f1bb6f12117559   https://www.wish.com/product/5c94bf98d2430a1a292048d4 https://www.wish.com/merchant/58aa55a996f1bb6f12117559     for you now
    Doe 16    Wish         58aa55a996f1bb6f12117559   https://www.wish.com/product/5c94c084396d997063c7d2f5 https://www.wish.com/merchant/58aa55a996f1bb6f12117559     for you now
    Doe 16    Wish         58aa55a996f1bb6f12117559   https://www.wish.com/product/5ab32ff71baafe4ec41260e0   https://www.wish.com/merchant/58aa55a996f1bb6f12117559   for you now
    Doe 17    Wish         59254d7975479360dd24e242 https://www.wish.com/product/598d86bedaddac5d641fe36b https://www.wish.com/merchant/59254d7975479360dd24e242       one day better
    Doe 18    Wish         5968a99cd44a9b1eecf69faa   https://www.wish.com/product/5c145ec6d097e8129d57e485 https://www.wish.com/merchant/5968a99cd44a9b1eecf69faa     Arles Vango
    Doe 19    Wish         5b6fe143cfde144c67d70641   https://www.wish.com/product/5d1efdb48caf275c0dde3078   https://www.wish.com/merchant/5b6fe143cfde144c67d70641   Thousanditemstoywholesaleshop
    Doe 20    eBay         beytechn0                  https://www.ebay.com/itm/283530129055                   https://www.ebay.com/usrbeytechn0                        beytechn0
    Doe 20    eBay         beytechn0                  https://www.ebay.com/itm/283530129146                   https://www.ebay.com/usrbeytechn0                        beytechn0




                                                                                                                                                                                                                1
                                              Case 1:20-cv-00505-RP Document 1-1 Filed 05/11/20 Page 2 of 4
SCHEDULE A


    Defendant Marketplace Seller ID            Product URL                                      Seller URL                                            Seller Name
    Doe 21    eBay         hey-5               https://www.ebay.com/itm/282166476330            https://www.ebay.com/usrhey-5                         hey-5
    Doe 22    eBay         ikitchenltd         https://www.ebay.com/itm/123850753070            https://www.ebay.com/usrikitchenltd                   ikitchenltd
    Doe 22    eBay         ikitchenltd         https://www.ebay.com/itm/123889318154            https://www.ebay.com/usrikitchenltd                   ikitchenltd
    Doe 22    eBay         ikitchenltd         https://www.ebay.com/itm/123850805276            https://www.ebay.com/usrikitchenltd                   ikitchenltd
    Doe 23    eBay         ineffablestore      https://www.ebay.com/itm/223308669338            https://www.ebay.com/usrineffablestore                ineffablestore
    Doe 24    eBay         itopgroup           https://www.ebay.com/itm/293052038176            https://www.ebay.com/usritopgroup                     itopgroup
    Doe 24    eBay         itopgroup           https://www.ebay.com/itm/293068324704            https://www.ebay.com/usritopgroup                     itopgroup
    Doe 24    eBay         itopgroup           https://www.ebay.com/itm/293052246796            https://www.ebay.com/usritopgroup                     itopgroup
    Doe 25    eBay         maxroutine99        https://www.ebay.com/itm/153297737039            https://www.ebay.com/usrmaxroutine99                  maxroutine99
    Doe 26    eBay         quayfashion         https://www.ebay.com/itm/264543151424            https://www.ebay.com/usrquayfashion                   quayfashion
    Doe 27    eBay         shoppingeveryday    https://www.ebay.com/itm/282616200519            https://www.ebay.com/usrshoppingeveryday              shoppingeveryday
    Doe 28    eBay         west_wood           https://www.ebay.com/itm/183819198881            https://www.ebay.com/usrwest_wood                     west_wood
    Doe 28    eBay         west_wood           https://www.ebay.com/itm/183819198959            https://www.ebay.com/usrwest_wood                     west_wood
    Doe 29    eBay         yamikitchen         https://www.ebay.com/itm/254143577326            https://www.ebay.com/usryamikitchen                   yamikitchen
    Doe 29    eBay         yamikitchen         https://www.ebay.com/itm/253958151621            https://www.ebay.com/usryamikitchen                   yamikitchen
    Doe 30    DHGate       14240265            https://www.dhgate.com/product//398636445.html   https://www.dhgate.com/store/14240265                 DLM Home And Garden
    Doe 30    DHGate       14240265            https://www.dhgate.com/product//405745844.html   https://www.dhgate.com/store/14240265                 DLM Home And Garden
    Doe 30    DHGate       14240265            https://www.dhgate.com/product//155601710.html   https://www.dhgate.com/store/14240265                 DLM Home And Garden
    Doe 31    DHGate       14429265            https://www.dhgate.com/product//492178218.html   https://www.dhgate.com/store/14429265                 Cariel
    Doe 31    DHGate       14429265            https://www.dhgate.com/product//492200773.html   https://www.dhgate.com/store/14429265                 Cariel
    Doe 31    DHGate       14429265            https://www.dhgate.com/product//406804149.html   https://www.dhgate.com/store/14429265                 Cariel
    Doe 32    DHGate       15351554            https://www.dhgate.com/product//375764405.html   https://www.dhgate.com/store/15351554                 Itopkitchen
    Doe 33    DHGate       20187937            https://www.dhgate.com/product//403288719.html   https://www.dhgate.com/store/20187937                 Cakestencil1
    Doe 34    DHGate       20194887            https://www.dhgate.com/product//407366404.html   https://www.dhgate.com/store/20194887                 Anthonylin
    Doe 35    DHGate       20405224            https://www.dhgate.com/product//395957901.html   https://www.dhgate.com/store/20405224                 Hehong1966
    Doe 36    DHGate       20940483            https://www.dhgate.com/product//493921737.html   https://www.dhgate.com/store/20940483                 dongliangmei_no1
    Doe 36    DHGate       20940483            https://www.dhgate.com/product//408112821.html   https://www.dhgate.com/store/20940483                 dongliangmei_no1
    Doe 36    DHGate       20940483            https://www.dhgate.com/product//417815993.html   https://www.dhgate.com/store/20940483                 dongliangmei_no1
    Doe 36    DHGate       20940483            https://www.dhgate.com/product//408257276.html   https://www.dhgate.com/store/20940483                 dongliangmei_no1
    Doe 37    DHGate       20940484            https://www.dhgate.com/product//408176377.html   https://www.dhgate.com/store/20940484                 dongliangmei_no2
    Doe 37    DHGate       20940484            https://www.dhgate.com/product//494173061.html   https://www.dhgate.com/store/20940484                 dongliangmei_no2
    Doe 37    DHGate       20940484            https://www.dhgate.com/product//494172828.html   https://www.dhgate.com/store/20940484                 dongliangmei_no2
    Doe 37    DHGate       20940484            https://www.dhgate.com/product//417810192.html   https://www.dhgate.com/store/20940484                 dongliangmei_no2
                                               https://www.amazon.com/dp/B01A6QYZNU?            https://www.amazon.com/sp?_encoding=UTF8&
    Doe 38    Amazon       A13QGA5XTC0G3H      k=brochette+express&m=A13QGA5XTC0G3H             marketplaceID=ATVPDKIKX0DER&seller=A13QGA5XTC0G3H Qingdao sheng huajie machinery co., LTD
                                               https://www.amazon.com/dp/B01A6QU2OQ?            https://www.amazon.com/sp?_encoding=UTF8&
    Doe 38    Amazon       A13QGA5XTC0G3H      k=brochette+express&m=A13QGA5XTC0G3H             marketplaceID=ATVPDKIKX0DER&seller=A13QGA5XTC0G3H Qingdao sheng huajie machinery co., LTD
                                               https://www.amazon.com/dp/B07CHBY8Z7?            https://www.amazon.com/sp?_encoding=UTF8&
    Doe 39    Amazon       A18CNVFXCZVP8L      k=brochette+express&m=A18CNVFXCZVP8L             marketplaceID=ATVPDKIKX0DER&seller=A18CNVFXCZVP8L     GHRMB
                                               https://www.amazon.com/dp/B07WG8M1KM?            https://www.amazon.com/sp?_encoding=UTF8&
    Doe 40    Amazon       A19OLHIBBRZDGF      k=brochette+express&m=A19OLHIBBRZDGF             marketplaceID=ATVPDKIKX0DER&seller=A19OLHIBBRZDGF     Alemin
                                               https://www.amazon.com/dp/B07MJ3RQJY?            https://www.amazon.com/sp?_encoding=UTF8&
    Doe 41    Amazon       A1D5ERAMJGQ947      k=brochette+express&m=A1D5ERAMJGQ947             marketplaceID=ATVPDKIKX0DER&seller=A1D5ERAMJGQ947     DIVIC
                                               https://www.amazon.com/dp/B07CG7TW2F?            https://www.amazon.com/sp?_encoding=UTF8&
    Doe 42    Amazon       A1EAJ5JRWD2ODN      k=brochette+express&m=A1EAJ5JRWD2ODN             marketplaceID=ATVPDKIKX0DER&seller=A1EAJ5JRWD2ODN Anlin777
                                               https://www.amazon.com/dp/B07K7GN3Q8?            https://www.amazon.com/sp?_encoding=UTF8&
    Doe 43    Amazon       A1GCFH70M98MI2      k=brochette+express&m=A1GCFH70M98MI2             marketplaceID=ATVPDKIKX0DER&seller=A1GCFH70M98MI2     TANGSEA
                                               https://www.amazon.com/dp/B07Q3VKVXD?            https://www.amazon.com/sp?_encoding=UTF8&
    Doe 44    Amazon       A1JRUV5LNLJLG1      k=brochette+express&m=A1JRUV5LNLJLG1             marketplaceID=ATVPDKIKX0DER&seller=A1JRUV5LNLJLG1     Vijayli us




                                                                                                                                                                                            2
                                              Case 1:20-cv-00505-RP Document 1-1 Filed 05/11/20 Page 3 of 4
SCHEDULE A


    Defendant Marketplace Seller ID            Product URL                                                Seller URL                                          Seller Name
                                               https://www.amazon.com/dp/B07SPKMWG5?                      https://www.amazon.com/sp?_encoding=UTF8&
    Doe 45    Amazon       A1W3Y8HH13DFJY      k=brochette+express&m=A1W3Y8HH13DFJY                       marketplaceID=ATVPDKIKX0DER&seller=A1W3Y8HH13DFJY   ITOP KITCHEN Store
                                               https://www.amazon.com/dp/B07MTGCZ43?                      https://www.amazon.com/sp?_encoding=UTF8&
    Doe 46    Amazon       A26UJ9L8PVDPOT      k=brochette+express&m=A26UJ9L8PVDPOT                       marketplaceID=ATVPDKIKX0DER&seller=A26UJ9L8PVDPOT   naraksport
                                               https://www.amazon.com/dp/B082S74LZ8?                      https://www.amazon.com/sp?_encoding=UTF8&
    Doe 47    Amazon       A28H991GWHQCFK      k=brochette+express&m=A28H991GWHQCFK                       marketplaceID=ATVPDKIKX0DER&seller=A28H991GWHQCFK Chashimi Kitchen Store
                                               https://www.amazon.com/dp/B072HWWR4T?                      https://www.amazon.com/sp?_encoding=UTF8&
    Doe 48    Amazon       A28JCU7OQZHCNA      k=brochette+express&m=A28JCU7OQZHCNA                       marketplaceID=ATVPDKIKX0DER&seller=A28JCU7OQZHCNA HIH63
                                               https://www.amazon.com/dp/B01GDWNTEC?                      https://www.amazon.com/sp?_encoding=UTF8&
    Doe 49    Amazon       A3BBP0LJ0PIDVF      k=brochette+express&m=A3BBP0LJ0PIDVF                       marketplaceID=ATVPDKIKX0DER&seller=A3BBP0LJ0PIDVF   Andux
                                               https://www.amazon.com/dp/B071WBZWG3?                      https://www.amazon.com/sp?_encoding=UTF8&
    Doe 50    Amazon       A3QMQ6NQE905AK      k=brochette+express&m=A3QMQ6NQE905AK                       marketplaceID=ATVPDKIKX0DER&seller=A3QMQ6NQE905AK nowhere Not in-xiyao
                                               https://www.amazon.com/dp/B071WBZ5HV?                      https://www.amazon.com/sp?_encoding=UTF8&
    Doe 50    Amazon       A3QMQ6NQE905AK      k=brochette+express&m=A3QMQ6NQE905AK                       marketplaceID=ATVPDKIKX0DER&seller=A3QMQ6NQE905AK nowhere Not in-xiyao
                                               https://www.amazon.com/dp/B07CVVD3D6?                      https://www.amazon.com/sp?_encoding=UTF8&
    Doe 51    Amazon       A3VTKEWSHZCKAO      k=brochette+express&m=A3VTKEWSHZCKAO                       marketplaceID=ATVPDKIKX0DER&seller=A3VTKEWSHZCKAO WUTIPORN
                                               https://www.amazon.com/dp/B072HWWR4T?                      https://www.amazon.com/sp?_encoding=UTF8&
    Doe 52    Amazon       AB1V25MJ231BG       k=brochette+express&m=AB1V25MJ231BG                        marketplaceID=ATVPDKIKX0DER&seller=AB1V25MJ231BG    Agiletech
    Doe 53    Aliexpress   105880              https://www.aliexpress.com/item/32823070344.html           https://www.aliexpress.com/store/105880             ShangSuRenPin Store
    Doe 54    Aliexpress   324539              https://www.aliexpress.com/item/32840930164.html           https://www.aliexpress.com/store/324539             ShangSuRenPin 2019 Store
    Doe 55    Aliexpress   725570              https://www.aliexpress.com/item/32728318424.html           https://www.aliexpress.com/store/725570             YONGLE ZAHUO Store
    Doe 56    Aliexpress   1182793             https://www.aliexpress.com/item/32794034042.html           https://www.aliexpress.com/store/1182793            sweettreats Official Store
    Doe 57    Aliexpress   1202361             https://www.aliexpress.com/item/32775182622.html           https://www.aliexpress.com/store/1202361            Happy Home Life Museum
    Doe 58    Aliexpress   1244041             https://www.aliexpress.com/item/32321283185.html           https://www.aliexpress.com/store/1244041            Outdoor BBQ & Kitchenware Products Wholesale
    Doe 59    Aliexpress   1813314             https://www.aliexpress.com/item/32796737912.html           https://www.aliexpress.com/store/1813314            Dropmaster Store
    Doe 60    Aliexpress   1848393             https://www.aliexpress.com/item/32792880788.html           https://www.aliexpress.com/store/1848393            Hwint Store
    Doe 61    Aliexpress   1943833             https://www.aliexpress.com/item/32798628003.html           https://www.aliexpress.com/store/1943833            Mingshengxiang Store
    Doe 62    Aliexpress   1961914             https://www.aliexpress.com/item/32575628428.html           https://www.aliexpress.com/store/1961914            Matin's Store
    Doe 63    Aliexpress   2229059             https://www.aliexpress.com/item/32813265186.html           https://www.aliexpress.com/store/2229059            Innovative Life House
    Doe 64    Aliexpress   2289058             https://www.aliexpress.com/item/32782754687.html           https://www.aliexpress.com/store/2289058            TTLIFE Convenient Store
    Doe 65    Aliexpress   3107035             https://www.aliexpress.com/item/32831508821.html           https://www.aliexpress.com/store/3107035            Merci Chef Kitchen Equipment Store
    Doe 65    Aliexpress   3107035             https://www.aliexpress.com/item/32835187282.html           https://www.aliexpress.com/store/3107035            Merci Chef Kitchen Equipment Store
    Doe 66    Aliexpress   32596472428         https://www.aliexpress.com/item/32596472428.html           https://www.aliexpress.com/store/32596472428        ITOPKITCHEN Store
    Doe 67    Alibaba      duoduo0579          https://www.alibaba.com/product-detail/_60328154432.html   https://duoduo0579.en.alibaba.com/                  Yiwu Cool Commodity Co., Ltd.
    Doe 68    Alibaba      finelife            https://www.alibaba.com/product-detail/_60113483977.html   https://finelife.en.alibaba.com/                    Ningbo Finelife Products Intl Trading Co., Ltd.
    Doe 69    Alibaba      goodyieldltd        https://www.alibaba.com/product-detail/_60282815887.html   https://goodyieldltd.en.alibaba.com/                Good Yield International Trade Co., Ltd.
    Doe 70    Alibaba      homeykitchenware    https://www.alibaba.com/product-detail/_60597644068.html   https://homeykitchenware.en.alibaba.com/            Ningbo Homey International Trade Co., Ltd.
    Doe 71    Alibaba      ikitchen            https://www.alibaba.com/product-detail/_60367488900.html   https://ikitchen.en.alibaba.com/                    Guangzhou Itop Kitchen Equipment Co., Ltd.
    Doe 72    Alibaba      itopkitchen         https://www.alibaba.com/product-detail/_60367116888.html   https://itopkitchen.en.alibaba.com/                 Guangzhou Itop Kitchen Equipment Co., Ltd.
    Doe 73    Alibaba      nbgreenforest       https://www.alibaba.com/product-detail/_60606076359.html   https://nbgreenforest.en.alibaba.com/               Ningbo Greenforest Import & Export Co., Ltd.
    Doe 74    Alibaba      nbkindly            https://www.alibaba.com/product-detail/_60670948225.html   https://nbkindly.en.alibaba.com/                    Ningbo Kind Outdoor Equipment Co., Ltd.
    Doe 75    Alibaba      psgifts             https://www.alibaba.com/product-detail/_60820726205.html   https://psgifts.en.alibaba.com/                     Taizhou Purple Star Gifts Co., Ltd.
    Doe 76    Alibaba      qdxiaodao           https://www.alibaba.com/product-detail/_60261203394.html   https://qdxiaodao.en.alibaba.com/                   Qingdao Xiaodao Food Machinery Co., Ltd.
    Doe 76    Alibaba      qdxiaodao           https://www.alibaba.com/product-detail/_60234411528.html   https://qdxiaodao.en.alibaba.com/                   Qingdao Xiaodao Food Machinery Co., Ltd.
    Doe 76    Alibaba      qdxiaodao           https://www.alibaba.com/product-detail/_60221670830.html   https://qdxiaodao.en.alibaba.com/                   Qingdao Xiaodao Food Machinery Co., Ltd.
    Doe 76    Alibaba      qdxiaodao           https://www.alibaba.com/product-detail/_60214483488.html   https://qdxiaodao.en.alibaba.com/                   Qingdao Xiaodao Food Machinery Co., Ltd.
    Doe 76    Alibaba      qdxiaodao           https://www.alibaba.com/product-detail/_60234529193.html   https://qdxiaodao.en.alibaba.com/                   Qingdao Xiaodao Food Machinery Co., Ltd.
    Doe 77    Alibaba      sdxinxingpesheet    https://www.alibaba.com/product-detail/_60383907217.html   https://sdxinxingpesheet.en.alibaba.com/            Shandong Ningjin Xinxing Chemical Co., Ltd.
    Doe 77    Alibaba      sdxinxingpesheet    https://www.alibaba.com/product-detail/_60361995586.html   https://sdxinxingpesheet.en.alibaba.com/            Shandong Ningjin Xinxing Chemical Co., Ltd.




                                                                                                                                                                                                                3
                                              Case 1:20-cv-00505-RP Document 1-1 Filed 05/11/20 Page 4 of 4
SCHEDULE A


    Defendant Marketplace Seller ID            Product URL                                                Seller URL                                 Seller Name
    Doe 77    Alibaba      sdxinxingpesheet    https://www.alibaba.com/product-detail/_60378883240.html   https://sdxinxingpesheet.en.alibaba.com/   Shandong Ningjin Xinxing Chemical Co., Ltd.
    Doe 78    Alibaba      sensotv             https://www.alibaba.com/product-detail/_62125586584.html   https://sensotv.en.alibaba.com/            Yiwu Sinn E-Business Firm
    Doe 79    Alibaba      sinwonbrands        https://www.alibaba.com/product-detail/_60728145570.html   https://sinwonbrands.en.alibaba.com/       Ningbo Xin Yuan Industry And Trade Co., Ltd.
    Doe 80    Alibaba      sweettreats         https://www.alibaba.com/product-detail/_60754101007.html   https://sweettreats.en.alibaba.com/        Ningbo Missinteresting Import And Export Co., Ltd.
    Doe 81    Alibaba      trumy               https://www.alibaba.com/product-detail/_62022122687.html   https://trumy.en.alibaba.com/              Zhenjiang Trumy Industrial Co., Ltd.
    Doe 81    Alibaba      trumy               https://www.alibaba.com/product-detail/_62022159001.html   https://trumy.en.alibaba.com/              Zhenjiang Trumy Industrial Co., Ltd.
    Doe 82    Alibaba      ywyourui            https://www.alibaba.com/product-detail/_62031832958.html   https://ywyourui.en.alibaba.com/           Yiwu Yourui Daily Necessities Co., Ltd.




                                                                                                                                                                                                          4
